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                                    No. 23-5669
                 IN THE UNITED STATES COURT OF APPEALS
                        FOR THE SIXTH CIRCUIT
                            ______________
                               KAYLA GORE ET AL.,
                               Plaintiffs-Appellants,
                                         v.
                               WILLIAM LEE ET AL.,
                               Defendants-Appellees.
                                 ______________
                On Appeal from the Judgment of the United States
                District Court for the Middle District of Tennessee
                                (No. 3:19-cv-00328)


 CONSENT MOTION FOR EXTENSION OF TIME TO FILE RESPONSE
  TO APPELLANTS’ PETITION FOR REHEARING EN BANC AND/OR
                    PANEL REHEARING


      Pursuant to Federal Rule of Appellate Procedure 26(b) and Sixth Circuit Rule

26(a), Appellees respectfully request a 21-day extension of time, to and including

October 16, 2024, for filing a response to Appellants’ Petition for Rehearing En

Banc and/or Panel Rehearing. Appellants consent to this motion.

      1.     This case involves a constitutional challenge to Tennessee’s birth cer-

tificate policies. The district court dismissed Appellants’ complaint, and this Court

affirmed. See Gore v. Lee, 107 F.4th 548 (6th Cir. 2024).
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      2.     Appellants filed a motion to extend the deadline by 45 days to petition

for rehearing or rehearing en banc, which this Court granted. See Doc. 63-1.

      3.     Appellants filed their rehearing petition on September 9, 2024, and Ap-

pellees’ response is currently due September 25, 2024.

      4.     Appellees respectfully request a 21-day extension of time, to and in-

cluding October 16, 2024, in which to file their response brief. Although the letter

directing a response to the petition for rehearing states “that no extensions will be

granted,” this Court has previously granted extensions in a similar posture when

substantial conflicts arise. See, e.g., Rogers v. Mays, No. 19-5427, Docs. 55, 56 (6th

Cir. Aug. 24, 2022) (granting unopposed motion for 30-day extension of time to

respond to en banc petition).

      5.     The grant of Appellants’ requested motion to extend the petition-for-

rehearing deadline created a conflict that impairs Appellees’ ability to thoroughly

address the issues raised in this petition.

      6.     James Matthew Rice has principal responsibility for preparing Appel-

lees’ response to the petition. During the response period, Mr. Rice must prepare a

response brief for United States v. Skrmetti, No. 23-477 (U.S.), which is due October

8, 2024, among other obligations. Other counsel on this case are also engaged in

preparing the Skrmetti brief.




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      7.     The requested extension is not sought for delay. Rather, it will ensure

that the Court receives fulsome, responsive briefing.

      8.     Appellants consent to the requested 21-day extension.

                                 CONCLUSION

      Appellees respectfully request a 21-day extension, to and including October

16, 2024, for the response to Appellants’ Petition for Rehearing En Banc and/or

Panel Rehearing.




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Dated: September 11, 2024                  Respectfully submitted,

                                           Jonathan Skrmetti
                                            Attorney General & Reporter
                                            of the State of Tennessee

                                           /s/ J. Matthew Rice
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                         CERTIFICATE OF SERVICE

      Pursuant to Fed. R. App. P. 25(d) and 6 Cir. R. 25(f), I certify that a true and

exact copy of this brief has been filed via the Court’s electronic filing system on

September 11, 2024. That system sends a Notice of Docket Activity to all registered

attorneys in this case. Under 6 Cir. R. 25(f)(1)(A), “[t]his constitutes service on

them and no other service is necessary.”



                                    /s/ J. Matthew Rice
                                    J. MATTHEW RICE
                                    Solicitor General
